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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                              CASE NO. 1:04-cr-00006-MP-AK

SANDY EUGENE JOHNSON,

      Defendant.
___________________________/

                                           ORDER

       This matter is before the Court on Doc. 439, the Government's Motion to Declare the

Plea Agreement Breached by Actions of the Defendant. In the plea agreement, the defendant

agreed "to cooperate fully and truthfully with the United States Attorney and his designated

representatives and with agencies identified by the United States Attorney" (doc. 299, p. 3) and

during the plea colloquy, defendant was told that failure to be absolutely truthful would result in

his plea of guilty standing but his plea agreement being revoked. As the evidence presented at

the hearing on April 15, 2005 showed, while defendant was initially cooperative he has since not

been forthcoming regarding contacts with police, a trip to Orlando, his association with various

individuals and in other matters. Accordingly, the Court grants the motion at doc. 439 and

declares the plea agreement breached by the actions of the defendant.


       DONE AND ORDERED this 21st day of April, 2005


                                       s/Maurice M. Paul
                                  Maurice M. Paul, Senior District Judge
